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UNITED sTATEs DIsTRICT COURT _ n {_
wEsTERN DIsTRICT or TENNESSEE 51‘1§‘~l ”51 " 9 ~`»'l
Western Division

 

UNITED s'rATES 0F AMERICA ` ~

 

-v- Case No. 2:05cr20276-B
CHARLES R. SMITH
ORDER SETTING

COND|T|ONS OF RELEASE

IT IS ORDERED that the release of the defendant is subject to the following conditions and provisions:

(l) The defendant shall not commit any offense in violation of federal, state or local law while on release in this
case.
(2) The defendant shall immediately advise the court, Pretrial Services Office, Probation Office, defense counsel

and the U.S. Attorney in Writing of any change in address and telephone number.

(3) The defendant shall appear at all proceedings as required and shall surrender for service of any sentence
imposed as directed The defendant shall next appear for Arraignment in the United States Courthouse and
Federal Building in Courtroom #M~3, 9"’ floor, WEDNESDAY, AUGUST 24, 2005, @ 9:30 AM

ADD|T|ONAL COND|T|ONS OF RELEASE

In order reasonably to assure the appearance of the defendant and the safety of other persons and the
community, it is FURTHER ORDERED that the release of the defendant is subject to the conditions marked below:

Secured Financial Conditions

0 Execute a bond in the amount of $5,000.00 or an agreement to forfeit upon failure to appear as required, and

post with the following amount of money to be deposited into the registry of the Court: W/IO% CASH
DEPOSIT WITH THE CLERK OF COURT.

0 report as directed by the Pretrial Services Office.

0 Abide by the following restrictions on personal association, place of abode, or travel: Defendant is restricted
in residence and travel to the Western District of Tennessee without prior approval of Pretn'al Services.

0 Refrain from possessing a firearm, destructive device, or other dangerous weapon. All firearms shall be turned
in within 24 hours to Mr. Hansoin.

ADV|CE OF PENALT|ES AND SANCT|ONS

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A0199A OrderSetting Condit`rons ofRelease -1' W~|th RU|E 55 andj'Ol' 3203) FHCFP On __Z`i’_';_@
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Case 2:05-cr-20276-.]DB Document 10 Filed 08/23/05 Page 2 of 4 Page|D 14

TO THE DEFENDANT:

YOU ARE ADV|SED OF THE FOLLOWING PENALTIES AND SANCT|ONS:

A violation of any of the foregoing conditions of release may result in the immediate issuance of a warrant for
your arrest, a revocation of release, an order of detention, and a prosecution for contempt of court and could result in
a term of imprisonment, a fine, or both.

The commission of a Federal offense while on pretrial release may result in an additional sentence to a term
of imprisonment of not more than ten years, if the offense is a felony; or a tenn of imprisonment of not more than one
year, if the offense is a misdemeanor. This sentence shall be in addition to any other sentence.

Federal law makes it a crime punishable by up to ten years of imprisonment, and a $250,000 fine or both to
obstruct a criminal investigation It is a crime punishable by up to ten years of imprisonment, and a $250,000 fine or
both to tamper with a witness, victim or informant; to retaliate or attempt to retaliate against a witness, victim or
informant; or to intimidate or attempt to intimidate a witness, victim, juror, informant or officer of the court. The
penalties for tampering, retaliation, or intimidation are significantly more serious if they involve a killing or attempted
killing.

If after release, you knowingly fail to appear as required by the conditions of release, or to surrender for the

service of sentence, you may be prosecuted for failing to appear or surrender and additional punishment may be
imposed. If you are convicted of:

(1) an offense punishable by death, life imprisonment, or imprisonment for a term of fifteen years or more, you
shall be fined not more than $250,000 or imprisoned for not more than ten years, or both;

(2) an offense punishable by imprisonment for a term of five years or more, but less than fifteen years, you shall
be fined not more than $250,000 or imprisoned not more than five years, or both;

(3) any other felony, you shall be fined not more than $250,000 or imprisoned not more than two years, or both;

(4) a misdemeanor, you shall be fined not more than $100,000 or imprisoned not more than one year, or both.

A term of imprisonment imposed for failure to appear or surrender shall be in addition to the sentence for any
other offense. In addition, a failure to appear may result in the forfeiture of any bond posted.

ACKNOWLEDGMENT OF DEFENDANT

I acknowledge thatI am the defendant in this case and that I arn aware of the conditions of release. Ipromise
to obey all conditions of release, to appear as directed, and to surrender for service of any sentence imposed. I am aware

of the penalties and sanctions set forth above.

Signature of Defendant

CHARLES R. SMITH
7249 SHADYOAKS
BARTLETT, '['N 38133
901-266-2454

AO 199.¢\ Order Setting Conc|itions of Release -2-

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DlRECTlONS TO THE UN|TED STATES MARSHAL
l:l The defendant is ORDERED released after processing
The United States marshal is ORDERED to keep the defendant in custody until notified by the Clerk or
Judicial Officer that the defendant has posted bond and/or complied with all other conditions for release. The

defendant shall be produced before the appropriate judicial officer at the time and place specified, if still in
custody.

Daie; Augusi 22, 2005 l/\'\-/
ru M. PHAM

UNITED STATES MAGISTRATE JUDGE

Ao 199.¢\ order setting conditions of Reiease -3-

   

UNITED sTATE D"rSrC COUR - WESRTE DSTCT 0 TESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 10 in
case 2505-CR-20276 Was distributed by faX, mail, or direct printing on
August 23, 2005 to the parties listed.

 

 

Joseph C. Murphy

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/lemphis7 TN 38103

Honorable J. Breen
US DISTRICT COURT

